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   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11                                               Case No. 8:20-cv-00322-JWH (GJS)
         JANE DOE,
  12
                      Plaintiff                     NOTICE TO PLAINTIFF RE:
  13                                                MOTION FOR SUMMARY
                v.                                  JUDGMENT; AND ORDER
  14                                                VACATING HEARING AND
         COUNTY OF ORANGE, et al.,                  SETTING BRIEFING SCHEDULE
  15
                      Defendants.
  16
  17
  18         On May 13, 2022, Defendants filed and served a motion that seeks summary
  19   judgment as to this case in full, with supporting points and authorities, request for
  20   judicial notice, declarations, exhibits, a separate statement of undisputed facts and
  21   genuine disputes, and a proposed judgment. [Dkts. 139 through 139-10, collectively
  22   “Summary Judgment Motion”.] The Summary Judgment Motion is set for hearing
  23   on June 15, 2022. The Court hereby VACATES the June 15, 2022 hearing for the
  24   Summary Judgment Motion, pursuant to Local Rule 7-15. Absent further order, the
  25   Summary Judgment Motion will be resolved on the briefing submitted and will be
  26   under submission once the time for briefing has concluded.
  27         The Court provides Plaintiff with the following notice of her obligations in
  28   responding to the Summary Judgment Motion:
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   1         By the Summary Judgment Motion, Defendants seek to have your case
   2   dismissed. In particular, the Summary Judgment Motion requests that a final
   3   judgment be entered in favor of Defendants without a trial. In other words, if the
   4   Court grants the Summary Judgment Motion, you will lose, and the case will
   5   be over.
   6         Summary Judgment Motions are governed by Rule 56 of the Federal Rules of
   7   Civil Procedure, and by Local Rule 56-1 through 56-3 of this Court. Accordingly,
   8   Plaintiff is advised to review Rule 56 of the Federal Rules of Civil Procedure and
   9   these Local Rules. Plaintiff should note that Fed. R. Civ. P. 56 and Local Rule 56-2
 10    set forth the requirements for opposing a summary judgment motion.
 11          The Summary Judgment Motion sets forth the facts that Defendants contend
 12    are not reasonably disputed in this case and argues that these facts require judgment
 13    in Defendants’ favor as a matter of law. Unless the Summary Judgment Motion
 14    fails as a matter of law, Plaintiff may not rest upon the mere allegations in Plaintiff’s
 15    pleadings to defeat the Summary Judgment Motion but must, in opposing the
 16    Motion, submit admissible evidence demonstrating that a genuine dispute exists
 17    concerning a fact material to the case. In other words, Plaintiff cannot simply rely
 18    on what is stated in her complaint. As set forth below, Plaintiff must set out specific
 19    facts as provided in Rule 56(c) – such as through declarations, answers to
 20    interrogatories, depositions, or authenticated documents – which will contradict the
 21    facts shown by the Summary Judgment Motion and which will show that there is a
 22    genuine issue of material fact for trial.
 23          Plaintiff is expressly warned that, if she fails to submit admissible
 24    evidence contradicting Defendants’ version of the facts, the Court may accept
 25    Defendants’ version of the facts as truth. If the Court accepts Defendants’
 26    version of the facts as the truth, the Court may grant the Summary Judgment
 27    Motion and enter final judgment against Plaintiff without any trial, and her
 28    case will be dismissed.
                                                   2
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   1         Further, Plaintiff is advised that, if she opposes the Summary Judgment
   2   Motion, Local Rule 56-2 requires that she must serve and file, along with his
   3   opposing papers, a separate document containing a concise “Statement of Genuine
   4   Disputes,” setting forth all material facts as to which Plaintiff contends exists a
   5   genuine factual issue required to be litigated.
   6         In opposing the Summary Judgment Motion, Plaintiff must submit some
   7   proof, in the form of admissible, documentary evidence, which supports her claims
   8   and sets forth specific facts showing that there are genuine and material issues in
   9   dispute which require a trial. See Klingele v. Eikenberry, 849 F.2d 409, 411-12 (9th
 10    Cir. 1988). Plaintiff may do this in one or more of the following ways:
 11          (A) Plaintiff may serve and file one or more affidavits or declarations of
 12    witnesses (including Plaintiff), which set forth the facts that Plaintiff believes will
 13    prove her claims. Affidavits or declarations must be signed under penalty of perjury
 14    by the person making the affidavit or declaration. The person making the affidavit
 15    or declaration must have personal knowledge of the facts stated and be competent to
 16    testify to the matter contained in the affidavit or declaration.
 17          (B) If Plaintiff’s complaint was verified (that is, signed under penalty of
 18    perjury), Plaintiff also may rely upon statements made in the complaint but only to
 19    the extent that Plaintiff has personal knowledge of the matters stated (and does not
 20    merely believe them to be true). Plaintiff must call to the Court’s attention those
 21    parts of the complaint upon which Plaintiff relies in opposing summary judgment.
 22          (C) Plaintiff also may rely upon other written records if there is evidence that
 23    the records are authentic and accurate. Generally, this means that Plaintiff must
 24    explain, under penalty of perjury, what the documents mean, where Plaintiff
 25    obtained them, and that they are true and correct copies.
 26          (D) Plaintiff also may rely upon all or any part of the transcript of a
 27    deposition, or on answers to interrogatories or on admissions obtained through
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   1   discovery in this case. Again, Plaintiff should call to the Court’s attention the parts
   2   of such documents upon which Plaintiff relies in opposing summary judgment.
   3         Pursuant to Local Rule 56-3, the Court will assume that material facts claimed
   4   and adequately supported by Defendant have been admitted by Plaintiff, except to
   5   the extent that: (1) Plaintiff controverts the material facts by including them in the
   6   “Statement of Genuine Disputes”; and (2) Plaintiff also controverts these same
   7   material facts by affidavit, declaration, or other written evidence filed in opposition
   8   to the Summary Judgment Motion.
   9         Plaintiff is expressly cautioned that her failure to file and serve a timely
 10    Opposition to the Summary Judgment Motion may result in the granting of the
 11    Summary Judgment Motion.
 12       THEREFORE,
 13       1. By no later than June 3, 2022, Plaintiff must file and serve either (1) an
 14          opposition to the Summary Judgment Motion (“Opposition”) along with a
 15          Local Rule 56-2 Statement of Genuine Issues, or (2) a notice of non-
 16          opposition;
 17       2. Within ten (10) days of service of the Opposition, Defendants may file and
 18          serve a Reply; and
 19       3. Once briefing is completed, the Summary Judgment Motion will stand under
 20          submission to the Court.
 21
 22       IT IS SO ORDERED.
 23
 24    DATED: May 16, 2022
 25                                            __________________________________
                                               GAIL J. STANDISH
 26                                            UNITED STATES MAGISTRATE JUDGE
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